        Case 16-30037-grs                              Doc 10          Filed 04/15/16 Entered 04/15/16 12:13:20                                                  Desc Main
                                                                       Document     Page 1 of 19

     Debtor    1                 Amv L. Bennett
     Debtor 2
     (Spouse       if lng)   FrsiNanre                  [4iddLe Name                Lasl Name


     United States Bankruptcy Court for      the:         l:asterll l)istri,:t ot'Kcntuclil
                                                                                                 (State)
     uase    number I O-JUUJ /
     llf known)




 Official Form 427
 Gover Sheet for Reaffirmation Agreement                                                                                                                                       12t15
 Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely,
                                                                                                             attach it to the reaffirmation agreement,
 and file the documents within the time set under Bankruptcy Rule 400g.


                     Exptain the Repayment Terms of the Reaffirmation Agreement
EE@
1.   Who is the creditor?
                                           unileo       sl4ecpfaqer@
                                           Name of the creditor
                                                                                                                       service     _
2.   How much is the debt?
                                           On the date that the bankruprcy case is          fited $ 68,754.14
                                           To be paid under the reaflirmation agreemenl $                  69,100.74

                                                S 428 .7    5   per month   for 306      months (if fixed interesr rate)


     What is the Annual
     Percentage Rate (APR)
                                           Before the bankruptcy case was filed                              5.750   y"
     of interest? (See
     Bankruptcy Code
     s 524(k)(3XE)
                                           Under the reaffirmation agreemenl                                         o/o   d    Fixed rate
                             )
                                                                                                                           D    Adjustable rate

     Does collateral secure
     the debt?                             fl   t'to
                                           M Yes.       Describe the coltaterat.         Residential Real Estate Propertv See Attached Documents

                                                        Current market r,'alue          $     73r500
     Does the creditor assert
     that the debt is                      El   ruo
     no nd   ischargeable?                 E    Yes. Altach      an explanation of the nature of the debt and the basis for contencting that the debt is nondischarqeaore


     Using information from                Income and expenses reported on Schedules I and J                      Income and expenses stated on the reaffirmation agreement
     Schedule l: Your lncome
     (Official Form 106t) and
     Schedule J: Your                    6a.Combinedmonthlyincomefrom $1                         gBO- E1          6e Monthlyincomefrc,mallsources $                    1880 .52
     Expenses (Official Form                 line 12 of Schedule       |                         -                        after pavroll deduclions
     106J), fill in the amounts.

                                         6b. Monthlyexpensesfrom tine         22col_             869.53           6f. Monthlyexpenses
                                             Schedule                                       91
                                                                                                                                                                  -   $ 1869.53
                                         6c. Monthly payments on all
                                                                                      - $ 0. 00                   69. Monthly payments on          all            _ q     nn
                                             reafiirmed debts nottisted      on                                       reaffrrmed debts not included         in      - ^
                                             Schedule J                                                               monthly expenses

                                         6d.Scheduled netmonthly            income $ 10. q9                       6h.     Presentnetmonthlyincome S i 0. 9q_
                                            Subtract lines 6b and 6c from 6a.                                             Subtract lines 6f and 69 from 6e
                                            lf the total is less than 0, put the                                          lf the total is less than 0, put the
                                            number in brackets.                                                           number in brackets.
        Case 16-30037-grs                                   Doc 10           Filed 04/15/16 Entered 04/15/16 12:13:20                                          Desc Main
                                                                             Document     Page 2 of 19




      Are the income amounts
      on lines 6a and 6e
                                              Fro
                                              Q Yes.           Explain why thery are different and complete Iine 10
      different?




8.    Are the expense                         El       No
      amounts on lines 6b                     f        Ves.    Explain why they are different and complete line 10
      and 6f different?




      ls the net monthly                      g No
      income in line 6h less                  D Yes.           A presumption of hardship arises (unless the creditor is a credit union).
      than 0?                                                  Explain how ther debtor will make monthly payments on the reaffirmed clebt and pay other living expenses
                                                               Comolete line 10.




10. Debtor's certification
      about lines 7-9                                          I   certify that each explanation on lines 7-9 is true and correcl

      lf any answer on lines 7-9 is                                        /'\
                                                              X ti,t{i-x
      Yes. the debtor must sign
      nere

                                                               -4                                                         x
      lf all the answers on lines 7-9                              Signature of Ddbtbr                                        Signature of Debtor 2 (Spouse Only in a Joint Case)
      are   l\,/o.   go lo rlne 1.


1   1. Did an attorney represent             E     tto
      the debtor in negotiating              El yes           Has the attorney executed a declaratron or an affidavit to support the reaffirmation agreement?
      the reaffirmation
      agreement?                                              fl tto
                                                              E yes




whoever fills out this               form   I certify that the attached agreement is a true and correct copy of the reaffirmation agreement between
                                                                                                                                                    the
must sign here.                             parties identified on this Cover Sheet for Reaffirmation Agreement.




                                                                                                                                              Date    A4/15/2016
                                                                                                                                                     I\,4M   /DD/YYYY



                                                  T.   i c:        E'     f.|ql-rrlt:ne
                                                  Printed Name




                                                  Check one.

                                                  R         Oebtor or Debtor's Attorney
                                                  tl        Creditor or Creditor's Arrorney
     Case 16-30037-grs                        Doc 10   Filed 04/15/16 Entered 04/15/16 12:13:20                                     Desc Main
                                                       Document     Page 3 of 19

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                                                                                              (,!q;k   onc.
                                                                                               l-.,1 Prrsumplion ol l nduc llaldship
                                                                                               kJ :lo Prcsumption ol'I nr.luc llardship
                                                                                              Sec [)ebtor's Sl(rtenent in Supporl of'llec(Jinnutiort
                                                                                              Part lJ helot;, to detennine v,hic'h fux to check.




                                          Uxrrpn Slarps Baxrnuprcy Counr
                                                           E;rstern District of Kentuckv

           Amv L. Bennett
 In re                                                                                                                     No. 16-30037
                                     Debtor
                                                                                                                    Case                        _
                                                                                                                    Chapter 7                   _

                                                   REAFFIRMATION DOCUM ENTS

                                     Name of creditor:      _United   states of America, USDA Rural Housing servrce

                     [-l    cn..n this box if'Creditor         is a Credit Union


PART        I.   REAFFIRMATION AGREEIVIENT

Reaffirming a debt is a serious financial decision. Before entering into this Rezrffirmation
Agreement, you must review the important disclosures, instructions, anrl 4efinitions found
                                                                                             in part V of
this form.
                                                                                   Promissory Note and/or
A.   Brief description              of   the original agreenrent being reatflrmed: suosiJv igpaym",]!4gregn]rll.-
                                                                                                       r0r   exuntple, uulo l0ut1


B. AMOT]NT REAFFIRMED:                              s 69.100.74

           The Amount Reaffirmed is the entire amount that you are agreeing to pay. T'his
                                                                                          may include
           unpaid principal. interest, and fbes and costs (if any) arisingon or befbre
                                                                                        04t12t2016
           which is the date of the Disclosure Statement portion of this fbrrn (part VL

            scc thc ela.finirion o.f"'Amount Rea//irmecl" in purt v, section c, below.

C'   The   ANNUAL PERCENTAGE RATE- applicable to the Arnount Reaf1lrmed                                        is          5.750 0    .



           See delinition           of"'Annuul percentuge Ruta" in parr v, section c'bektw.
           't-his is     (tttec,k,,nr)V Fixed
                     o                              rate                       [-l   variab,le rare

If the loan has a variable rate. the firture interest rate may increase ordecrease
                                                                                   from 1he Annual Percentage Il.ate
disclosed here.
       Case 16-30037-grs                        Doc 10     Filed 04/15/16 Entered 04/15/16 12:13:20                   Desc Main
                                                           Document     Page 4 of 19
  IJ2.10A. Ilcall'irntation l)ocutncnrs
                                                                                                                             I'rgc   -l


  D.    ReafJlrrnation Agreement Repayment Terms                       (c'hec,k uttd crnlprete one):


                          $    qZA.ZS per rnonth         fbr 306             months starlins    on     04111t20j6

                          Describe repayment terms, including whether future payment amount(s) may, be
                                                                                                       different tiom
                          the initial payment arnount.




 E.    Describe the collateral.               if any. securing the debt:

                         Description:                            Residential Real Estate properly_,gse Attached Documents
                         Currcnt Market Valuc                    $ 7r,500
 Ir'   Did the debt that is being reaffirmed arise liorn the purchase of the collateral
                                                                                        de:;cribed above?

                  Yes. What was the purchase price fbr the collateralJ                                 s 76,000.00
                  No.      What       r.vas   the amount of the original loan?

 G' Specifl"the changes rnade by this Reaf irnration Agreement to the most recent credit terms on the
                                                                                                      reafljrrned
 debt and any related agreement:
 There are no changes in terms due to the Reaffirmation.
                                 Tenns as of the                                              Terrns Afler
                                 Date of Bankruptcy                                           Reaffirrnation

            Balance due (inclueling
             .fce.s and ctt.sts)                        $ Og,t OO.Z+                          $N/A - no change
            ,,\rrrrual Pcrcentagc Rate
                                                         - -S.7SO      o,o                     lJ,re - ric cha.r.Je
            Monthly        l)ayrnenr                    q-_;Ars                               Sn,za - no charege

H'L-l c,lle$ this box if the creditor      is agreeing to provide you with additional future crerlit in connection u,ith
           this Reafflnnatiorr Agreement. Describe the credit limit, the Annual percentage
                                                                                               Rate that applies to
           fLrture credit and any other ternrs on luture purchases and
                                                                       advances using such credit:




PART        II.        DIiI]TOR'S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT
A'   Were you represented by an attorney during the course of negotiating
                                                                          this agreement?

           Check      one.       fl       v.t
B. Is the creditor a credit union?

          Check       one.       lly.,               tno
          Case 16-30037-grs                  Doc 10       Filed 04/15/16 Entered 04/15/16 12:13:20                   Desc Main
                                                          Document     Page 5 of 19
 112.1(lA.    Ilclll irrnittion Docunlenls                                                                                     I):rue   l

 C. lf yoLrr answer to EI-ftlER question A. or B. above is "No," complete L and 2. Lrelow.

      I   .      Your present monthly incorne and expenses are:

                a. Monthly incorne frorri all sources after payroll deductions
                (take-home pay plus any other            incorne)                                         $ r ggo ^ S2

                b. Monthly expenses (including all reaffirrned debts except
                th is one)
                                                                                                          $it   ao:.:s
                c. Amount available to pay this reaffirmed debt (subtract b. fiorn a.)                    $qlg.tq
                d. Amount of nronthly payrnent required for this reaffrrmed debt                          5428.7s
               I/ thc monthly pavntanl on lhi,s reu/.firned debt (line tl.) is greaterthun llte ,:tmount you hut,e uvcrilable to
               ptrl'this rea/./irmetl tlebt (line c.), vou ntust check the box ot lhe top rtJ page one that suy.s "pre;sumpti6n
               rf (tntluetlurclship." Othent,isc,youmustchecktheboxatthetopo.fpageone thatsay.s..No
               Pre.sumpt ion o/' Undue Hurul.ship. "

    2.         YoLr believe that this reaffirrnation agreernent           will not impose an undue     hardiship on you   oryour
               dependents because:

               Check onc of the two statements below. if applicable:

                           Yott can affbrd to nrake the payrnents on the reaffirmed debt because your monthly income                    i:;
                           grcater tlian your monthly expenses even after yoLr include in yoLrr expenses the monthly
                           payments on all debts )/oLr are reaffirrning, including this one"

                           You can afford to make the payments on the reaffirmed debt even though your monthly incorne
                           is less than your rnontlrly expenses afteryou include in yourexpenses the rnonthll,payments
                                                                                                                       on
                           all debts you are reaffirming. irrcluding this one. because:




               Usc an additional page         if   needed fur a   full explanation.

D. If 1'ouranswers to BO-fH questions A. and B. above were "Yes," check the follorving
staternent. i f appl icable              :




                           YoLr believe this Reafllrmation Agreement is in            your financial interest and you can affbrd
                          make the payments on the reafflrmed debt.

Al'so, c:hec'k lhe box al lhe lop            rf page   one lltat suy.s "lVo Presumpli6n rt'Unclue flarc{ship.,,
       Case 16-30037-grs                           Doc 10       Filed 04/15/16 Entered 04/15/16 12:13:20                                     Desc Main
                                                                Document     Page 6 of 19
 I]2-10A. Rcall irntillion L)oculrenls
                                                                                                                                                         l)age 4

 PART        III. CERTIFICATION                         BY DBITTOR(S) AND SIGNATURES OF PI\I{TIES
 I hereby certit),that:

             (l)         I agree to reaffirm the debt described above.

             (2)         Before signing this Reaffirmation Agreement, I read the terms disclosed in this Reafllrmation
                         Agreement (Part I) and the Disclosure Statement. Instructions and Definitions included
                                                                                                                 in paLrt
                         below;
                         -l'he
            (3)                  Debtor's Statement in Support of Reaffirmation Agreernent (Part II above) is true and
                        complete;

            (4)         I am entering into this agreernent voluntarily and am fully intbrmed of my rights
                                                                                                          and
                        responsibilities; and

            (5)
           Ihave received a copy of this completed and signed Reafflrrnation l)ocuments tbrm.
 SIGNATURE(S) (lf this is a.ioint Reafllrrnatiy Agreernen/,..both debtorp niust sign.):

 DaLc04/15/16                                      Signature __
 Date                                              Signature
                                                                                  Joint Dehtor. if'anv


 Reaflirmation Agreement Terms Acceptetl by Creditor:

creditor       USDA, Rural Housing                 service              p   o   Box 66g79, st Louis, r4o 63166
                                 l,nnl   .\(tntL                                                  ..l   tldress

            William E. McCtain                                          (,.'ta;' i-,.,.,_ r__ llrl:l        (:r,.-"_          04._12t2016
                 Print .\'onte of Represen/otive                                    Sigttttture                                    Date



PART       IV. CERTIFICATION BY DEI}TOR'S ATTORNEY (IF ANY)
              7'o be   /iled onl)) i/ /he allornel' regtresentecl the clebtor cluring lltc course of'negotiating this agreement.

I hereby certily that: (l) this agreement repres.ents a fully intbrmed and voluntary
                                                                                     agreement by the debtor: (.2)
this agreernent does not irnpose an undue irardship on tht debtor or any
                                                                           dependent oi'ttre oebto'r, anJ.fiy t nuu.
ftrlly advised the debtor of the legal effect and consequences of thi, ugr..r.nt
                                                                                  and any default under this
agreement.

[_lA p"tt'tption of'undue hardship      has been established with respect to this agreernent. In my opinion.
holvever. the debtor is able to rnake the required payment.

l'!e.ck brtx, i/'the presumplirtn                  o.f undue   hartlship box is checked on p(rge                  I   ancl the c'reclilor is not ct Crctlit
Union.

Date   n4 / 1 \ / j G Signature ol'Debtor's Attorney
                             Print Name of Debtor's Attorney                    T,'isa F- Oshorne
        Case 16-30037-grs             Doc 10   Filed 04/15/16 Entered 04/15/16 12:13:20                 Desc Main
                                               Document     Page 7 of 19
Ul,10A. Reall'irrnatlon I)ocutnents                                                                              I)agc   5




PART       V. DISCLOSURE STATEMBNT ,,\ND INSTRUCTIONS TO DEBTOR(S)
Belbre agreeing to realfirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reallirming a debt is a scrious financial decision. The law requires you to take certain steps to make sure the
decision is in yoLrr best interest. lf these steps. whicli are detailed in the Instructions provided in Parl V. Seclion
B belolv, are not completed, the Reatfirrnation Agreement is not effective, even though you have signed it.

A.         DISCLOSURE STATEMENT

    L      What arc your obligations if you reaffirm a debt? A reatllrrned dcbt renrains your personal legal
           obligation to pay. Your reafllrrned debt is not discharged in your bankruptcy sar.. That means that i1'
           you default on yoLlr reafllrmed debt after your bankruptcy case is over. your creditor may be able to talte
           your property or your wages. Your obligations will be detennined by the Reafllrmation Agreement.
                  mal have changed the terms of the original agreement. If you are reat-finning an open end crerlit
           "vhich
           agreement.  that agreernent or applicablc law,may perrnit tlie creditor to change the terms of that
           agreemenl irr the future under certain conditions.

   2.      Are you required to enter into a reaffirmation agreement by any law? ltJo, you are not required to
           reafflnn a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
           afford the payments that you agree to make.

   3.      What if your creditor has a security interest or lien? Your bankruptcy dirscharge does not eliminate
           any lien on your property. A "lien" is often ret-erred to as a security interesl. deed o1'trust. mortgage. or
           security dced. The property sLrbject to a lien is often referred to as collateral" Even if you do not
           rcafllrtr and yourpersonal liability on the debt is discharged, yourcreditor rnay still have a right under
           the lien to take the collateral if you do not pay or defaLrlt on the debt. lf the c:ollateral is personal
           property that is exempt or that the lrustee has abandoned, you rnay be able to redeem the item rather
           than reafflrtn the debt. To redeern, you make a single payment to the creditor equalto the current value
           of the collateral, as the parties agree or the court detennines.

   4.      Hon'soon do you need to enter into and lile a reaffirmation agreement? If you decide to enter into
           a reatlrrmation agreement, you must do so before you receive your discharge. After you have entered
           into a reatflrmation agreement and all parts o1-this fbrm that require a signature have been signed. either
           )ou or the creditor should file it as soon as possible. 'fhe signed agreement must be filed with the court
           no later than 60 days after tlie llrst date set fbr the meeting of creditors. so that the court will have tinre
           to schedule a hearing to approve the agreement if approval is required. Holvever, the court may extend
           the tirne tbr filing. even after the 60-day period has ended.

   5,      Can you cancel the agreement? You may rescind (cancel) your Reatfirmation Agreement at any time
           betbre thc bankruptcy court enters your discharge, or during the 60-day peric,d that begins on the datr:
           yoLrr Reatlirmation Agreement is filed with the court. whichever occurs later. To rescind (cancel) yc,ur
           Reafllrrnation Agreetnent. yolr rnust notity the creditorthat your Reafllrmation Agreement is rescinded
           (or canceled). Remernber that you can rescind the agreement. even if the coLrrt approves it. as long as
           1'ou rescind rvithirr the time allowed.
          Case 16-30037-grs           Doc 10     Filed 04/15/16 Entered 04/15/16 12:13:20               Desc Main
                                                 Document     Page 8 of 19
I12.10A. I{ealllrrnation Docuntcnts                                                                             Page 6



     6.     When lvill this Realllrmation Agreement be effective?

            a. If you were represented by an attorney during the negotiation of your Reaffirmation
            Agrecmcnt and

                       i. if the creditor   is not a Credit Union. yor-rr Reaffinnation Agreement becomes eff-ective wlren
                       it is filed with the court unless the reafflrrnation is presumed to be an undue hardship. lf the
                       ReafTirmation Agreement is presumed to be an undue hardship, the court must review it and rnay
                       set a hearingto deterrnine rvhetheryou have rebutted the presumption of undue hardship.

                       ii. if the creditor is a Credit Llnion. your Reaffirmation Asreernent becomes eff'ective when it
                       is llled with the court.

            b. If you were not represented by an attorney during the negotiation of y'our Reaflirmation
            Agrecment, the Realfirmation Agreement will not be effective unless the court approves it. To have, the
            court approve your agreement, you rnust file a motion. See Instructiorr 5, below. The court will notify
            you and the creditor of the hearing on your Reafllnnation Agreement. You rnust attend this hearing, r:rt
            which tirne the.iLrdge will review your Reatfirrnation ,{greement, lf the judge decides that tlie
            Reatflrrnation Agreernerrt is in your best interest. the agreement will be approved and will becorne
            etTbctive" However. if your Reaffirrnation Agreement is for a consumer debt secured by a mortgage.
            deed of trust. security deed, or other lien on your real property. like your horre, you do not need to file a
            motion or get court approval of your Realllrmation Agreement.

     7.     What if you have questions about what a creditor can do? If you have questions about reatfirming a
            debt or what the law requires, consult with the attorney who helped you negotiate this agreement. lf you
            do not have an attorney helping you, you may ask the.iudge to explain the eftect of this agreement to
            yoll at the liearing to approve the Reaffirmation Agreement. When this discLtsure refers to what a
            creditor "l.nay" do. it is not givirrg any creditor pernrission to do anything. 'l'he word "rnay" is used trr
            tell 1,oLr what might occur if the laiv perrnits the creditor to take the action.

B.          INSTRUCTIONS

     l.     Rcvier.vtheseDisclosuresandcarefirllyconsideryourdecisiontoreaffirrn. lfyouwanttoreaffirm.
            review and complete the infbnnation contained in the Reaffinnation Agreement (Part I above). If your
            case is a joint case, both spouses must sign the agreement if both are reaffinning the debt.

     z.     CorrpletetlieDebtor'sStatementinSupportofReafflrmationAgreement(Perrtll           above). Besurethirt
            )ou can  atlbrd to make the payments that yorr are agreeing to make and that vou have received a cop'v of
            the Disclosure Statement and a completed and signed Reaffirmation Agreement.

     J.     If you were represented by an attorney duringthe negotiation of your Reatfirmation Agreement. your
            attorney must sign and date the Certiflcation By Debtor's Attorney (Part lV above).

     n
     T.    Yott or your creditor must flle with the court the original of this Reafflnnation Documents packet ancl a
           completed Reafflrmation Agreement Cover Sheet (Ol'l'icial Bankruptcy Forrn 27).

     5.    If yott ure nol represented by un ultorney, you musl al,so complete and./ile wilh lhe courl a,tepurule
           doc'umenl anlitled "Molion.fbr C'ourt Approvul ('Reu.//irmation Agreement" unles.s your Reaffirnution
           Agrcemenl i.s.frtr ct consumer dabl ,secured hy a lien on your reol properly, ,such as your home. You can
           use Fonn U2,108 to do this.
          Case 16-30037-grs             Doc 10   Filed 04/15/16 Entered 04/15/16 12:13:20                Desc Main
                                                 Document     Page 9 of 19
I12.10A. I{eall irrnation Docrrnrcnts                                                                             I'age   7




C.          DEFINITIONS

     t.     "Amount Reaflirmed" means the total amount of debt that you are agreeing to pay (reaffirm) by
            entering into this agreement. The total amount of debt includes any unpaid f-ees and costs that you are
            agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
            Reafflnnation Agreement (Part I. Section B above). Your credit agreement rnay obligate you to pay
            additional amounts that arise after the date of this disclosure. You should consult your credit agreement
            to determirre whether you are obligated to pay additional amounts that may anise after the date of this
            disclosure.

     2.     "Annual Percentage Rate" rneans the interest rate on a loan expressed under the rules required by
            f-ederal law. 'l-he annual percentage rate (as opposed to the "stated interest rate") tells you the firll corst
            of yourcrcdit including rnany of the creditor's fees and charges. You will find the annual percentagc:
            rate lbr yoLrr original agreement on the disclosure statement that was given tc, you when the loan papers
            werc signed or on the rnonthly staternents sent to you for an open end credit account such as a credit
            card.

     3.     "'CreditUnion"rreansafinancial institutionasdet'inedin l2U.S,C.$461(b)(l)(AXiv). ltisowned
            and controlled by and provides f-inancial services to its members and typicall'y uses words like "'Credrt
            Union" or initials like "Cl.U." or "Fr.C.U." in its name.
  Case 16-30037-grs                 Doc 10         Filed 04/15/16 Entered 04/15/16 12:13:20                                                       Desc Main
                                                  Document                  Boo(J&i-5-
                                                                Page 10 of 19
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                                                                                                     :trr^riffifut*_                          0.c.



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                                                                                                 {hlrc.}                 i'}guCotru nr'rr at




   Form RD 3550-t4                                            [Spcr Atovc   Tb Lie   For   R@rdeg D|r|]
                     Ky
   (Rcv l1{5)                                                                                                                                     Form Approvcd
                                                   Unitcd States Deparunent of Asjculture                                                         OMB No. 0J75{l?2
                                                                Rural Housing Servicd

                                                MORTGAGE FOR KENTUCI(Y
   THIS MORTCAGE (,,Securiry Insfument") is nade
   Themongagor     is                            on                         septernber            11                        ,   200S     [Dr.'t
                              Amy   bennett, an unmarried
                                                      -
                                                                                woman
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  3$i*:1,Tfri,S,*ffi:'ffii;'r?,1T:',j.-tril'fltff"I'ff"*[;il#'3*"",                                        c/o ccntrar-izci io-,,icing c*to,                   soil,
  Borrorvcr is indebted to Lcnder under. thc following promissory
                                                                    notes and/or assurnption sgrcemcnts,(hcrein
                                        bv    s";";;"1   *r'i.r'-pi""ii" il;;;;i;p"y",crts, with rhe tur dcbt, collcctively called ..Notc,,)
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  Dgte of lnstrurnent
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Septenber 11,             2008                      976,000.00                                             Septenber               tlr   Jie4L
 This sccuriry Insfument sccures.to-Lender: (a)
                                                       rhc rcpaymcnt of the dcbr cvidenced by the
                                                                                                   Norg with intcrcst" and a.ll r€oew'Jr;,
                                             1u1 tii f"yr*r-of all other surns, *itrr inr.roi ua"*.iJ"uni",
 ex(cnsions and modifications of thc Note;
 proPerty covercd by this sec'riry                                                                           paragraph 7 to protcct rhe
                                    Instrumeni; ic) urc pcrro.m*"" oiiotroi'"r, covenan8
                                                                                            and agrecrnenr unds this security Instrumcnr
 and the Note' and (d) thc recaPturc of
                                        mv p"vt*f *iiil;;;;il;ilil;ry                 be granrcrr                ti rt no.ro*", by rhc l.cnder pursualrr to
                                      trris   iu"rro", sooo*',      does     hercbv;ilrs",                            "
 ;:"y"*,:"::,Jfi!fllt*tf:rror                                                                         erant, ena convcy to Lcndcr rhc fonowing describ€xr

                                                                             cfl(entuckv
             see Attached Legal Deseript.io;t*t"


 which has rhc addrcss   of    475 Davis l,ake            Road                                              Openton
 Kenn:rcky               403592pr
                                                   IStrr€tJ
                                                   ("Properry Addrcss,');                                                 Icityl




According,o thu Por
valid oMB con,ol number' The valid
                                       oMi contro! au'mberfor ni"iii-^oti"'n collecrion is \sTs-\r                               o, o
thk infonnorion collection is estimated     ,;;;;;                                                   7;. 'ihu o^" required to comprete
                                                     is          pu   i*i'"*",'l"uding the timefar rewewing instructions, searchins
existinS data sourccr' gathering and     '"
                                     maintaining ihe iara^inr,u                                                                      :
                                                          needed, and             *a reviewing thecollection of infonnation.
                                                                               "iiptrlii,
                                                                                                                                                     Page I   of6
Case 16-30037-grs      Doc 10      Filed 04/15/16 Entered 04/15/16 12:13:20              Desc Main
                                  Document      Page 11 of 19  i'

                                          Legal Description

                                             Amy Bennett


      Address: 475 Davis Lake Road, Owenton,      Ky   40359

        Commencing at an iron pin in the West right of
                                                          way line of said Lake Road corner ro
        Delrnas casrle(Deed ggok 146,page 325) thence
                                                             wirh rhe west right of way-ri",
        Lake Road s8-06w l2z.0g feer to    L   iron pin; thence with the arc of a curve in a "r
       counter clockwise direction with the following
                                                         curve data: Delta angle * 22 degrees, 43
       minutes, chord distancc'= 221.81 feet. chord iearing    . si-ise, radius distance 563.35
       fcet.to an iron pin, being the southeast corner of
                                                           Loi Th,ree and the true point of
       beginning of Lot Four; thence with the west right
       arc of a curve in a counter clockwise direction
                                                            of way ii*  orLake RoaJ urong tr,,
                                                       *itt  tn. following cune data:
       Delta angle " ?3 minutes, chord distance r
                                                     3.g2 feet, chord bearing,,, s244gE, radius
        " 563.35 feet to an iron pin; thence sl5-00 E g7.00 ieet to
                                                                      an iron pin, s9_59E 30.00
       feet to. an iron pin; t]r1nce leaving Lake Road
                                                       right of way w zr-sew t77.00,feet to an
       iron pin; thence N I 8-24w I 00.0b feet to an iroi
                                                           pin beini the southwesr corner of Lot
       Threc; thence with the south line of Lot Three
                                                         stit-tse izs.oo feet ro the point of
       beginning, containing 0.J9 acres of rand, more
                                                         or ress, subject to easement.

       Subject to any and alleasements, restriction. conditions,
                                                                 and legal highways of record
       and/or in existence

      B;ie.th. sT. prpryrty      conveyed to the morrgagor by decd recorded in
                         tf-)?                                                  Deed Book
                  Page
                                  -, of the owen county court crerk's records at owenton.
      Kentucky.
  Case 16-30037-grs                Doc 10        Filed 04/15/16 Entered 04/15/16 12:13:20                               Desc Main
                                                Document      Page 12 of 19  l' l" ':


       ToGETHER wrrH all thc improvements now or hereafter
                                                                  erect..d on the properry, and alr easements, appurten.nces.
   and fixtures which now or hereaftei are a pirt of th"
   Securirylnstrument.                                   ry"p."y.-aii-frh.*.nt'""i     ii,iiti"* shall also be cdvered by this
                           Alloftbefioregoingifriren.aiJi;'rii;t.ffiryi**"o,asthe,,properry.*                                           -

          BoRRowER covENANTS that Bonowtr is lawfully
   and convey the Prooerty and that thc Properry is.
                                                                       se.ised   of the estale hereby con-veyed and has
                                                                                                                     tle rigbt to        gnmr
   will defend generallv   t!
                           utte to *e nropi?tvigri*t
                                                     uaencumberca,        ,i.ipt for eocumbrances of record. Borrower     wan-aati ano
                                                                                      subject ro any eoc,,qbrances of record.
                                                             "u "r.irr-ii,it.-6l0.,
        THIS SECLTRITY INSTRLMENT combines uni{orm
                                                                coveoants for national use and non-r,niform coveoants
   variations by jurisdiction to coosrinrte a unirorm s."*ltv                                                         with limired
                                                              i*r"-*t."""ttog real propcrry.
             LINIF'RM covENANTS. Bonower and Lender coverunt
                                                             and agrec                   as follows:
         l   '
             Payment of Principal and Interest; Prepayment
    pnncipal of and interest on the debt evidencet                     rnd Lste charges. Borrower shall promptly pay whea due
                                                                                                                                          rhe
         2' Funds for Tares and lnsurance' Subj-ecr to  ql"+iil;".1g.*io'r"o-u**,            and tate charges due under the Note.
                                                                 -applicablJ'1";;?   rg a written waiver by-Leoder, Borrower shall pay ro
    Lender on tbe dav monthlv pavmeots ar" ar.
    taxes and sssessmetrts whicf, niay attain priority
                                                           uiivil;;dl
                                                        ""a*              n;;'il,h;           i"tgfr;ll;i!,-       (.Funds*) for: (a) yeirry
                                                          over.this $;ililIruu"*eot ui rien on rire Fioperry;
                                                                                                                         (b)
   paymeuts or ground rest. on the Propertv.
                                                      iny;.f)F;th;;;-;tg?ry,ry
                                                'ai'eif                                         "insurance premrgprs; and yearly   leasebold
                                                       cattlb r;6s:cio#Iffi;'i                                               (d) yearly 0ood
   rnsuftrnce premiums, if any'
                                  Tbese irrirns
   iuuount not to exceed the maximunr arnount a lcndcr                  ito.,               m'y, a! aay time, colre* and bord Funds in       *
                                                                ot eai*llyretiieo mortgage-roan may require for
  account uoder the federal Rcal Estate seatJmentFiofi;;il;ilii6?i.*-t*d-ed                                               Borrowe/s e'crow
                                                                   "                                from iffieio tirne, 12 u.s.c. $ 260r er
  seq' ("RESPA"), unless.another taw o.reaiiuirieuration
  any time' collect and hold Funds in an amouninoito
                                                                    thai;o'oiri,J'r,.i-t;F"1d"G';GrL        r-o*.      If so, Lcndci *y,   ,u,
                                                               exceed tlJlissei arrgunL
  on the basis of currcnt data and.i"s"""urllsrinut"s
                                                                oieip;di;;;;"f              _lrsder m"ili'tiiut" tbe amorint of Funds d*e
  applicablc law.                                                                   ft't";; E.-,ii; it#o"oiin r*tsc in accordance wr&
        The Funds shall b:!:|9-by-a federal                  (inc{uding Lcnder) or in as institution whose
                                                  .age-ncy
  federal agency, irxtrumenraliry,-or entity. t-EnA.i                                                            dcposits are insured bv a
  Borrower for holdine g9 upp.ti-g th; it*dt,                  itlj, tilF;d,
                                                             t^il                                     tt.*.
                                                                                      to pay tlre As"ro*
                                                                                                                   .Lrnder may not chaige
  Lender pavs Borrow;r inter;si    on 6e Funds arid'"""xdiiti;;
                                                                             *i;'.1*"* account, or verising rhe       Escrow Items, unress
                                                      appt.icablc raw permits Lr;;., ;;r;; ;#;?i#g..
 require.Borrower to pay a one'time.hatg"-o;L'ff6il;ilt:;i;;i                                                  However, *ndcr may
 *'ttr ttus loan' unless applicable law proiides                                 tax reporriog service uscd by Lender in connecrjon
                                                    "*:yL, y.;;;;;;ilgrent
 be paid, Lender shax n;f bc ;eqd;q iriilryii.,";ower-'ny                              is mad-e-oi uppril"ur"
                                                                          *.;*i&;-;;-th. i;;b. Hj,,f*, law
                                                                       -ktlbr
                                                                 interest
                                                                                                                  requires i.nteresr tr
 in writing, however, that rnteri:st snait.# puiJ.go the'F*d;.                                                 and Lcnder mny asee
 accounting of tbc Fuuds,-showing creaiu aia a.uiq;                             a6x A;;;;;";;:
                                                               rh.it6ffithe.purpose                       wrftour charge, uo aruual
 made' The Funds are nledged * iaaitl"".t r.r;tf"t                                           for,which each debjt ro rbc Fuads was
      If the Funds tret'j ufrena.t;i;;AGi1;"^r"r""xpermittea     ;;:;ffi       iy this security lasn'rnenc
 Borrower for the excess ii** in ac;.d** *itrt                             to u" n".ta.uy-applic,qbre law, Lcnder sball accounr to
 Leuder 8t anv
                                                        the requirements of applicauri Iu'oi.-litl*
                      is not suficie"t t" piv rrt" rrcrow Iteui
                                                                  ini;*u"., i;;d"l
                                                                                                       ilo*t of the Funds hcld by
                  'me                                                                       --B;;;;;ift
                                                                                        r"y;9 ;;dfyEi,io*",        io wriring, and, in sucrr
 :T;3.:dtrH:fl'ilJfiiTift*'"*lf-*jf,gf*tn'i1"T.a'iii'i                                                          make up   triaeniieocy i,,
     Upon palment to           ali srr-i'se"*;1y thi;
 Funds held bv Lcnder. ryllof
                        If Lender ;b.[";q;;;. r"rr u"Siil;fururent,-Lender        shau promptry_refirnd to Borrower any,
                                                         r-roi;.qy;i;;;..1:*Ioo *$r'pl*sr"ph 22, Lender,        prior to the
il?ffiXX[:ffi;l*'ri:"*1fl*'r11,,::*v *vi'i'a"' ilfi;;Tiei'ut th' time oracciGit%o o, sarc as a cridit againsr
     J' Appucatioa of Payments' unlcss apnlicable law or Lender's regulations
Lender uuder paragrapbs i and z tuarr ui                                      qrovi.{e otherwise, all payments received by
protectroo of the Prooerty or euforcemeut "'piiia
                                                  ir tl" rdrri*ig ori#of prioiry:_(l)  to advauces for the preservatrou or
                                          oi itii ri*;lti;;;;"J'i'riigg, due undir rhe
the Note; (4) to amonirs iequirea ior i!e;;;;;bt*'"ir,i"rp*iitiilllrsl jo rare charges Nore; (3) to principar due under
     4' charges; Liens' Bonower
                                    :h"u p;t;i taxes, assessm.o6, iuur6"'s, n;;;;;?;-rfrJn!'atriuuta_ye to the-properry
                                                                                            and other fces and charees.
  -.
wtuch mav attain nrioritv over this securitvtnstun."f*lirJl-Jd"ifriyr.go
thcse obligations-in the'maruer provided'tr                                     o, grooid_r"o{if any. Bonower shari pay
directlv to tbe person owed pavureut Bonowirt;as;6n
                                                r$il
                                                           L;ff;;';Jlt,     tl", Tanngr, Borrower sha' pay them on rimc
                                                              *;;;;$.ii;rdttrtiG;il;i;d; oiJ-o*t,
paragraph' If Borrower mui'ri                   -Jir..iry, !,Ftily'hr#rfiiluoaer_at norict,
psyments.
                                   *,"ri   ;rv ;;                                                                   !o bc paid under this
                                                                                                                 reccipts evideucing the
   .   Borrower shall proq!-tly discharge any lien
wntEg to such lien or Borrowen.la) agrles in y.[.,h      prioriry over this          lnstruureut unlcss *ader
acceptable to Lender: *),:,o-Tt:T iir gg""a
                                                    1...
                                              writing,to',h"
                                            aitf,tn.
                                                              ilfi;;iof lecuriry
                                                                            the obtigadon secured
                                                                                                                            has   a$eed in
                                                                                                               by the tien in a-mauner
which in the Lender'i bd'jrioo-operatd to prevent fieri by, or d'c6uds against  ,nrori"meoioi?r-ri.o i4 legal proceed.ines
agreeme.t sarisfacorv to.reoaet;u;;d#dilt.
                                                   th.;;;iJ;;;;i-Ji',ti"ri.o; or (c)_sccurcs Fon tle horder   of the rien an
Propeffy is zubiect ro a fien *tri['ri,.y
                                                        ri""i"-tltit#frviirq*.nt.'  frrenaei  J.i*io.,
                                             ,n]i                                                       that anypart of rre
identrfving tle lien' Bonower ru"tl i"tirrv'tnr ]ioriry over rhjs Seciriry Incfumeor, Lender ruy grve Borrower a norjce
the giving of uorice.
                                                    ii* ,ii-i"ri.;il; i};;itir. ."u"*iiri,rr,ui?'ve witnin ten (10) days of




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  Case 16-30037-grs                   Doc 10      Filed 04/15/16 Entered 04/15/16 12:13:20                              Desc Main
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                                                 Document      Page 13 of 19

       Bonower sball nay to Lender such fees
                                                 -9,_"9T c!1ges as,may now oI hcreafter.be required by regulations of Lender,
   and pay or reimburie iender for all oilinctir's    fees, cosis, and .ipenses in connection wiib any full or partial release
   subordination of this instrumenr or any other transacti&;fl';rtrl                                                           or
                                                                          &,
        5' Hazard or Property I-nsurnnce. Borrower rhril kerf tb; iiop"roy.
                                                                    'dprovements now existing
   Properv imured agaimt-losibv fire, hazards inc.tuaea-wiriin-rf";;-';;+-{i;;g;r'"#tt*y         or hereafter erecred on the
   floods or flsqding, for whjch Lender requires i"sir*";;. n i;                                    other haeards, including
   periods that Lendcr requires. Tbe insurer'
                                                                         iiril*",
                                                                           shall be .aiirt"ir;d rn the arnouns and for the
                                              oroviding thilnsur;;;rtil be chosen by Borrower subject     to Leodecs appro'a.r
   which shall uot bc unreasonably withhela. irsorroier         f"i6 to;;d; covcrage deicriuiJauovc, at Lenderrs oprion-iendier
   may ob.taia coverage to protecr Lender,s.righs.in     ,t   pr"p^."Vil;;;         paragnph     7.
       All   irsurancc policies and renewals inau       te in a form
  clause' Lender sha'll bave. the t'utrt t. ioto tl" phiri".'iri't;;"#ff" io Gnder and shall include a standard r'ongagce
                                                                       acceptablc
                                                                          If L.oJer ;"G"iT#o*r,
  3:9-{ly.eipts      of paid premiums ana renewat norices.- io rr"-*Lnror ilq, iil;;r-r-hu, gru"shal promprJy gi-ve to
  msurance carrier and rrnder. Lender mav make proof of                                               prompt notice to the
                                                            loss irnoinsJc promptty uy Ii;;;;;
      un-less Lender and Borrower othenrlse uerc". q *tidrt, i*urarii proceeas
                                                                                     shau be applied to restoration or repair of
  the Propeay darnaged, if thc restoration or r:ep.air is_econlmj."xt-fr;dibl;-*d'1"i6;r'iiJ,iry
  restorarion or repair is not ecgnomicatly feasidle or t-"oa.ir                                       is uot lessened.'If t.e
  applicd to the srlms secued bt thj;
                                                                  ,'"iitirf'wor{d
                                               S;;;t iloG;il;irtJioi'oo,                  il
                                                                                      tesr"*i,            [;;**r"
                                                                                                             proceeds shau be
                                                                               rhen due, *io-ioy-.r"ess paid ro Borrower. If
  Borrowcr abaudons the Properfo' or does ooi
                                                "*;;rri-thio'-,i*v
  has offered to settlc a claim, tfin tender may-collect               tlbia"y; -;"-"1;'HoA?ni* that rhe insurance carrier
                                                          ttrc insurance proceeds.   L,ender may use the proceeds to repair r:r
  i,ii!"d;ff,ji:f:HJJ;Xl1t
                                sums secured bv-tris secGrv         Gu"-L;';Gil;;              ;""r1;i";-rh;          il,.yii0itr'pJ,ioa
       unless l-cnder and Borr6wer otherwise.g-.^".^lylqg,
  poslpone tbc due date of the month.ly.pa{t!.1tt referred
                                                                  any appricatioa-o-f proceeds to principal sball not extesd or
                                                           to in parigraphs I and 2 or change tbC amount of rhc payments.
  after accelcration &e Propertv is acquirJl qy. L;rit.r;E;;#;;"gfrit
                                                                            any ioru*oce poticies and proceeds rlsrildng &om
                                                                                                                             [f
  ft|ffi":?   ffi:;?tilrilnt*i"."::"iii,i*i .t',irlil;';                iliii't       t[e extent of a"     s-uos   sicwed by rhis     si.*iry
      6. presen,ation. Maintenance. and protection of the property; Borrower,s Loan Apptieation;
 Borrowcr shall not desEoy, damage ;t i-purt-&; p-pirrii'irr;;fiq pro-perty                                       Leaseholds.
 Property' Borrower shall inaintain-tlc imptbuin.gr ,1 g"-"',i-*lrit                  to deteriorarc, or commit wasre on the
 complv with all laws, ordinances' and                                 ila_r"t. repairs required by Leoder. Borrower shall
                                        .*grilogag.,..rrfih,;   Pffi:rryl'
 or proceeding, rvhether civil or crinrinal, is begun that Jn Leoddr,s gooaBooo*ri suail ui in aefautt if auy forfcinue acrioq
  Properry or orher',v'ise marerially irnpiir telie"?-rg"[J                  zutrr l;;iyd; i,ii rczutt in forfeirure of &e
                                                              U/tff
  may cure such a dcfault by cdusing tbe action or p.roceiding 5;l*6{'
                                                                                 Tnssurcnt ir Lcude/s sccuriry interesr Borrower
 determination, precludes forfeinre o? uJ sooo*efs'interest
                                                                        to  ue dismis-sia--*rh'"      ;;;"fu,  ,o lrode,,s eood fairil
                                                                    if trr" Fi.p.nv or o{er material impairment of tbe liEn crea*d
 lf-e5lt:yry         Instru'rent or Lendcls r.ruttry     i";.;;;"b;;;;ii"n"u';;"-u,          ,o;;A;i,?Borrower, durine rhe toa'
 appltcahon Process' gave.materially filse or haicurarc
 anv material i:rformation) in conoettion with the- lo*
                                                              i"ft;;'d;;;.    rtt"**o-ro Leoder (",.        eil";;;;;;;ff"i!",     itu,
 Borrower shall comolv *itl atl ue proviito* or-,hg ""id;;;;;iliirr"JNot". If th;-s;;u,it ii'lt uo,.o, is ou a leasehotd,
                                                            t";-i-#;J";;^;;;;;;8"";tiffi
 tbe fee titte shall nof merg-e uof"r,   iJoJii;il";                                                  t#rop.rry, tbe leasehord an<l
                                                      to tbe merser in wririnp.
     7'      Protection of.Lender's Rights -io ttt.-p."putt?.'Tr'[iif*"r
                                                                                   faits to. nqform.tre covenanrs and agreemeuu;
contained rn this security.tnstrumenf, o. th.t" is a fegal"proce.-cirrg-'rrrrt^ray
Propertv (such as t oto.,.:j:g*._ua,tt""pLcv,                                             sigruficantJy aftecr Lende/s righrs in rhe
                                                    iriotui.,'io?io;;;;;;' forr;itur;;;;;;l#
Lendcr may do and-pay for wbatever is necessary to.protect
Lendcrs actjoos may include paytng aoy sums secured'uy
                                                                     rht*r"; of ft;i;6;,ry;,i*L#errslawsrighrs   or regurations), rherr
                                                                                                                      in ttre prdperry
court' paying reasonable anorireys' fees-ana
                                                          &ti;i;6;.ry;ffi.e            s..*i[ Ir"'ffi;q;;i:ffi;;
                                                               a tien wnicb hai.pnority 6u".'rlii
this paragrapb 7, Lender is nor riquired t" a"io.                                  repairs, Altbougb l-encrer may take action unde'
                                                "nt.riag
      Any ffirouots disbursed by Lender under this paragrapll ? shall
Securify kur'ment' unless Bqnot"t                                             become add.ifionsl debt of Borrower secured by thrs
date of disbursemant at the Note rate and  -Jr.oa"r alrec to 6ther terms ofpalmen! tbese amourts shall bcar iaterest froin the
payment.
                                               rhull b.  fry"6l";;iih;[?ii        ubon n6tice tom        Gnaer to Borrower requesting
                       If at any rime it shall appeBr to Lender tbat Borrower may be able to
^^^l^'-.1:,nlancrfS;
cooperatrve or private credit source, at reasobib.le tulgr                                   obtaia a loan             tom    a responsible
                                                               *J
                                                                tr"*-i"l-ro.* Ib1 rt-i]q              ouf.*."9, Bfiof,;r*u}li,      ,ipffi';i.
Leu.decs reques-t,   appll' for
                                  -o u"iii, ,u.tr r;; i" iltr;id;;;;;          p"ay   rt* uote and iny-indebtconess     secured hereby in
     9' Inspection' Lender ot its agent may make reasonable eatries upon.and
                                                                                  inspectious.of the properry. Lender shall give
 Bonower nbtice at the timeof or       p;;;;'*il!t'""    ip..ir'n6.!Li1"Jr"
     10' condemnation' The pioceeds of aoiiwaro dr claim "fbidu;;r, causc for the inspection.
                                                                                direct or conse[uential, in connecfioa wift any
condemnation or other taking oianv p"n            p;"pC;  ;;?i."'""Tffit;;;;;;i;;ffi;ffi;.are
shall be paid to Lender. I'rihe       cveni;a;i"t"l-;di-'"f[iir*r6i}:
this $ssu!-itv Insh.,trxent' whether ot noi
                                            "ioJ                                                             bcreby assigned ani
                                                                             proceeds shall be apptied ro rbe sums secured by
                                            uio aui, *lu. any exceis paio ro              ;i:il
Propertv in whjch the fair market vatuJof ue p-r"o."t
                                                        t;Jl;r"[             !loo9*o. G.,i;             of a partial taking of &L
                                                                      6ri[t],1.  raking is equal ro or grearsr tban the amounr of
the sr'-q secured bv this
wriring' the suuu secured9:.*irv
                                       I"rdil l*;ililtil1-.-1il'ih;;iilg,
                              bt,,lit s";"tity^"ffinent s'hull u, ."a"r"a uy untess-nonciwei-an-d      Loaer orherwise agree in
                                                                                rhe amounr of the proceeds multiplied by the
following fraction: (a) the t6ral amount ;'f thr;itmr
                                                        secured
                                                                 -..-a;ut"ry before the taking, diviaea bv o) rhe fair mirker

                                                                                                                     Page 3   of6
 Case 16-30037-grs                   Doc 10      Filed 04/15/16 Entered 04/15/16 12:13:20                              Desc Main
                                           f-   Document      Page 14 of 19

  value of the Pronerfv immediately before the tulr*g.         balancc shall be paid-to Borrower. In tbe event of paroal
  of $e Propertvin wnicn the fair'market uuir. orfi. 4ly  Pt6p;ffi;;;telybefore the raking is less tlran theaarorount taking
  sums sccured herebv i-uunediately bcfore the a$t1g, uoletr" B;;o;; aid                                                  of rbe
  applicable law otherwise providesl the proceeds snati'bi
                                                                                   Gd;;rdr;;* ugr". in writing 61 rrnl6;sg
                                                                      t" trr. suns securcd by this securiry losuuneot whethcr or
  not tbe suns are tben due.                                  "ppiira
       If the Property-is abandoned by Borrowcr, or if, afler notice by Lender to Borrower that
                                                                                                  tbe condemnor offers to make an
  award or senle a claim.for damrBesr Bonower fails to .rspood i,i f.oa.r
                                                                               wirhin thirry tdl aiyr after rhe date the norice is
  given, Leuder is authorized to coileci and appty th.e procecis, at
                                                                     G ;;ri;o, eirher to t.jr*ution ,j, ,*pri, oi tn* i,rrp.ny ;; *
  ftq:* sccure.d by this^security tnstrumcni whe'*rcr or ooiGo?-ur.'Untcsi
  *.iting, any application of proceeds to princiqalshalt not exreno oip*tpoo" the duetrna;;IEorro*",            otherwise aqxee u
  in pryagragbs I and 2 or change the ambunt oisucn paymcnts.
                                                                                          aut"       ofGi;;;thfi"fi;*?r.?!i       ,"
       1l'   Borrower Not Rcleasedl Forberrunce             riy r,elaer Not a waiver. Extcasion of the time for payment or
   modification of amortization of thi surns secured bi. td-S;ilry- tort r..nt.
   successor in iuterest of Borrower shall not operare to releasc tle tiauitity
                                                                                             g"qtgd'bi;linder ro Borrower-and a'y
                                                                                 ortte
   interest' Lcndcr shall not.be required to comrnence proce.aiogs ag"l*i uov successor
                                                                                         oriffi    nood*il or Borrower,s successors in
  payloeot or othcrwise modifo amortization of the su'i's securedb_y"thir
                                                                                                 in intcrest or rcfiue co exlend time fbr
                                                                               S"r,i1if' fo.t u-*t Uy'r-r..oo of aoy demand made by
  the original Borrower or Bonowefs successors in intercst- a"v tirrt"*Lcc
  not he a $aiver of or preclude thc exercise of any right oi,ariitv. '-
                                                                                     b! *ndei ..    ;i;;"iog qJ
                                                                                                 in v^!'!'Ju6   any rigbt      remedy 5r
                                                                                                                            or rstucuy
                                                                                                                     rr6'ur sr          shall
                                                                                                                                            -
        IZ' successors aud Assigns.!oun{; .loin!                      Liability;  Co-signers,.    Ihe covennnts   and
                                                        lnaseveral
  Securiry lruu-unrent shall bind and benefii tbe successors.gd                                                         agreernents   of thjs
  paragnph 16' Bonowe/s covensnE,and agreemen.: ,Fu b-q
                                                                      q.itg*;'f l*nder and Bouower, zubject to the provisions r:f
  Instrumsot but does not execute the Note:                           l$-tin; several. A"i.B;;;;;r wbo co-signs rhis secunry
                                                1i) is co--sjrniog thit'a;r-urit Instrument
 Borrowe/s interest in tbe- Properry under thl i"rrns of fit S.."tiry i;;-ent; (b) only to morrgage, granr and convey tbat
                                                                                            is not pcrsonnriy obligated to pay the suau
 ::Y-:9!I.$-!t:*iry          Instrirmeic and (c) agrees that Gralii,io          otl"r Borrower-qray Bgrec ro exrend, modi&, forbe.r
 or make any acconmodatioos with regard to thc terms,of this Security      ^"v
                                                                             instru-"ut or tbe No6 rfitnout that Bonower,s consen.r,
       13' Notices' Any notice to Bdrrower provided f"ah thii$.,Gtv                 ro.u"q"oi iuuri be givcn uy deliveriog it or b,y
 mailing it bv first ctais mail untess apptica6rc r"-i"qoitrt;;;;;;'t#;.th;?.-il...""ofr."
                                                                                                                sba.ll be directcd
 Property Ad&ess or any other addrcss bbnower a"iig"itcs by *e€
 class mail to lrndefs address stated herein or.aay-other .ad;r
                                                                             t p"d.er.. Any notice ro Lcuder shall be given bytofirlt    tle
 provided for in thjs Securirv Instnrnenr shall be d"cnJi;ha;;i;;" l*dcr desisrratcs by notice ro Borrower. Any noricc
 this paragrapb.                                                             &r to Birrower or 6d;r;#;;;r;                      fr"liijr"
      14' Governing Law; severability. This securitX lnsmrm€Dt shall
 provision or clause of this-securiry Insirument or rrre tiore .onni;-*iti be spv?loe{ by federal la1v. In tbe event that any
                                                                              applicable law, such conllict shall not atfect other
 provisions sf this $ssut"ily Insnumint or the Note whi.tcanl;;;;
                                                                                *ittout rl" r,l"ni.tiog provision. To this cnd rhe
 provisions of this securiry Insrurnsnt and the Note are
                                                              dr.l#;;     "d"t
                                                                          b";;r;;[:      T}ii;Hicnt shnu be zubiect to &e
 Prcsent regulations of Leroder, andto its future regulatioos noi io.-"*fueot *in
                                                                                    tg Tpqr. provisio-os t#of erii""i,'"il,[o
 agencies graoted in this instument arc coupted iittr *;;;il;;ailincvocabl"bt&fi;;itircrwise;
                                                            toi".eam pr"r,aiiuv ffi.--- -'
 remedies provided i-u thi-s i'srument are                                                                             and rhe rights anrJ
      15' Borrower's copy.        Bonower"umularivc
                                             acknowlcdgcs;il;f;i';;;crinrormea copy of the Nore and of this securiry
 Instrunent.
       16' Transfer of the Property or ! Beneficlal rnterest in Borrower. If
 it is leased for a term srestcithan three (3-) y.urs, t**.a *iG;;fi;;           all or any pll of the property or any interest i'
                                                                             to purchase, sold, or rassferred (or if a beneficial
 intcrest in Borrower is-sold or ransferrii'r;tB";;;;'i;;;Ji;ilti;"")
 Len{cJ t:y, utjts option,.require irrrmediate paymgnr i" tuu ;f                         r;!ho,jt-renJ"r, prior vninen cotrsenr,
       17' Nondiscriminadon, If Borrowcr intends to sJtl oi ilG;                   ttrhr; s"ilty fitrumenL
                                                                  "li;um;&;d
                                                                          iioperty or any part of ir and hac obuined Lendecs
consent to do so (a) neitler Borrower nor aryonc authorized
                                                               to u.i oino"ir;;,;x        ;{;;ti n.goti"r" for the sale or ren!&l
of the Propcrry or will otberwise mate una'vaiiaure.oi a"nv-tl.'iiop".ii
national origir, handicap, ag? or farnilial tt"tur,                            ro aiyqle because of*r., color, religiou, sex,
                                                     -d Cili;r;.;';J.;g4rz9s as illegal and hereby disclaim" and wi1 no'
                                     anv resrictive covenants on a*euug fii.mg t".."?l"oi-, rriigioo,
;ffiltfj}#fffinil:ffrce                                                                                     sex, uarionar origia
      l8' sale of Notel            of Loau serviSer,^ The Note or a partial interest in tbe Note (together witb this
Itutrument) may be sold,c-h*gu
                           one or more times without prior notice r Fotto1u"1 A sale may_icr,rii                         Securig
(lcrowr as &e "Loan Servicer") rhat collecrs ;;;rHy;i]-"its                                            io-u change in the entity
may be oDe or more changes of the Loan servicer rurtetated
                                                                   J";,rij., tl" N"t" *a rAiJS_.]}.ry Instrument. There also
                                                                                  -

Bon^ower^ult be given vineu
                                                               t"   iu.        Notc. lf there-iJa Jange of thc Loan Servicer,
w:ll state lhc
                                     notice oithe           i" u."-o-.dl.;;t;r-Fruph
                                                                  ^         "-frle          13 above and applicable
                                                                                                       norjce           law. Tbe
                                                  "uuogJ
     t9.
                 na.me and address   of the new Loar           tinil[;r'yrr;;;;t'Jtj'u* .uor.
                                                     Sdnriccr and the
           uniform Federar Non-Judiciar Forecrosurerirl *ir"""i"a".fi"i:jira.iri"6r-..ror*"
                                                        "aati*                              raw appricabre to
foreclosure of this securiry insrument
such federal procedwe.
                                           is enactea,   i*na.i rn"ir   h";ffi;pl"n   ro forcclosc thjs instrurnsnt in accordance with
    20' Eazardous       substances. Borrower shalt not cause or permit the.presence., use,
                                                                                             disposal, storage, or releasc of any
hazardous substanccs on or in.the       Ppp*t    The preceding
Properry of small queqtities of bazardois siuttancei, tnat
                                                                    r;"i;;;b;l n9t {Fpv ro the prcsence, use, or srorage on the
                                                           urJg;;;t"Iil r*Jgnized ro be appropriate to normat residenrial uses
and to uuintenarce of the propcrty. Borrower shall not
                                                           do, ior alloiv anybne clse to do, anything affecting the property that
is in violation of anv federar, ri"rc, or ro*i"o"it"orJJt"r-i"*';;;d"tt"].



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Case 16-30037-grs                   Doc 10            Filed 04/15/16 Entered 04/15/16 12:13:20                                   Desc Main
                                                     Document      Page 15 of 19
                                           f"'-l':                                                 i7
      Bonower sball promptJy give Lender wriften nodce of any                        claim, demaud, lawsuit or other action by
 govemmental or regulalory agency or private party invotvin*g t6r tvestigation,
                                                                       rrop-fr und any h"dd-ous'dbrt"o." o, envaonmental 'ny
 or regulation of which Borrower iras airual lciowie4ge . tt 6onowci'ti-ui*, or iinodfied-                                      law
                                                                                                  by_*y gour,,-"ntal or reguiat'ry
 u.'4.otiry' that any removal or othcr rcmediation          any l.ur-ao* suustuare atre$iag tli'pr"iJttv is necessary, Borrorver
 shall promptiy take all necessery remedial actions. in .of
                                                           acc'ordalcJwitb .ppr""ui.-"n*of,r"ii;f h|ri and regulations.
      As used in this naragraph "hazardous subslances" are lhose su6Jtauc"s dsfined;;;;ic
                                                                                                        or hazar-oous zubstances by
 environmental law add        oirottowing-substances._g1.9!rn;1\;r;JiJ,
 pesticides and herbicide.s, volarile s6lvcnts, materials ss4rainiqg
                                                                                        iuu
                                                                                     namrnaure-oito"i, p"rol"u- products, toxrc
                                                                         asbcstoi ot rorr"ta"nyd.,.-;i radioactive materials. ,As
 used in this paragraph, "environmental law'i means federat t.*ind-r;6i*ii"i'fri'ir'ri"
 where the Prope[y
                                                                                                  *ia?.?riuriiii;ith"                     jilffiti;
                      is located that relate ro health, safery or .o*oo-"oiifprorecoo'
      21' Cross couaterslizstion. Default hereirnder sbad;fititu;d"fault under any_ other real
                                                                                                          estab security insrrument
 held by Lender and executcd or assurncd by Borrower, and default
 default hereunder.
                                                                                  *a.i *y
                                                                                     otler iuitr-Jec*ity i*t o..ut shall constioue

      NON'UNIFoRM covENANTS. Borrower and Lender further covenant and agree
                                                                                       as follows:
      22' sHouLD DEFAULT gc.cur in the perfo-rsrao." oiairiu-li-oi*y
                                                                     obligarion in rhis irurument or                  secured bv ttris
 instmment, or should atrv  one of the parties;d"t;          B;;;;r'di.?'t;; declared an incompere"iiiiiir,ira.iiJi,r"Jr}i.
 panies nRmed as Bonower be discharged
                                               B banknrptcy"ia.ih"a         - ir,lolvent,  or makc an assigruoent for the beuefit of
 creditors, Leoder, at its optiou, u"ith o-r without.noricei-may:
  indebtedness to Lender liereby secured immediarciy bF;i;;i;bb
                                                                      (;t;;G;th"      dd;;ount        *puio under the nore and any
 reasonable expenses for repair or mai'ienance of andiake p""9rii;i,              ftj i;,fi;;#""?pioplrry,Borrowcr incur and pay
                                                                            Ji, tp"iut"    rent the          (c) upon applicarion by
 it and production of this Gtrumeat witbout other evidenc; *i *ift"il'dn"! _or
 appointed for the Prooerty, with the uzualpgwen ort                                   9rbqil;g
                                                                    io iik;;;.;, (a) foic"loiiTnii"f;i;pptication,    have a receiver
 bv l1{, ao! (e) enforie aiy aod atl other ri-gfit' ;Jie;redilpfr;?;filiiin
                                                            ""i".n                                   i*i.L"ot   * prornded herein
                                                                                    or by presgnr or tun'e taw.
      23' -fhe proceeds of foreclosure sate-sutt be. applied fi tl. nrrro*i"g.orcerio                                              'r
                                                                                             tp; plym;-;i ia; corts and expenscs
                                                                     1bj ;y;;-". lienl required by law or a competenr court to trc
 incjdcnt to euforcine or complying.with the provisions'hercof,
 so paid, (c) the debieviaencio'ly"ttre oot" urii       toarui"ao"i'r tJ Giair r".*.a heieby, (_d) inferior liens of record required
 by law or a competent court ro bi so paid,         "ti
                                             14 arlrnaers                        irra"lt"an..i'orEir.."*", o*g to lrnder, and (f)
 any balancc to Borrower' At foreclostue-or orher sale of"p";r,'-*y;L-.,
                                                                iI ot'*l p"n
 purchase as a stranger and.rnay pay.Lender's share of tle pur;i*"'p'ri;e
                                                                                       p."p-"ili-G;;;o
                                                                                        titrt.        rls agents may bid ard
 owing to l-rnder, in tbe order lrdsiribed above.
                                                                          ty crcditiog such amouot on any debts of Borrowt:r
     24' Borrower asrees thit Lcnder will not be bound bJ.1n.v present or furure sratc raws,-(a)
 appraisal' homestesd or exemptioo of the Property,,fJ                                              providing for valuation,
                                                                     mninsgnnnse
                                                                           of an a.tion i'o'i'a deficiency judgmenr crr
limiljng thc amount thereof 6r thc time withfi which ry?Fuiolg
                                                     sucb action may be brought, (c) prescribrng any otler stature crf
limiutions, (d)    allowiue        rieht of redemptign
                        {Y rmpose,                                             f"ll"-;G any foreclosure sale, or (e) r;mifiag the conditions
rvhich Leoder mav bv rJeu.liuoi                      i;l;dirg_o1,_qo.r...rtioo
                                                              th-e intercst rate it may'charge,
                                                                                                .tr a condition of ipproving a ransfer of rhe
Properry to
waiv;p,
              I  6on;y;1
                  new
                           f:f:::i;!el;Fi        il;;il; i;;;;ffif tv sutn state raw. bonowc, hereby rerinquishes,
                                    or consu'rurur., ota"i..oi alri.r,
       %d"::::ql!^lgh",incboate
     15' Kele$se' upon termination of ttljs mortg_age, after pg$elr io "no c*rtesy.
execule aud                                                            qI, dt. oiorrg"gr., at
                  file or record such instruments of-releasc, satisfaction                                             Borr^ower's expense, shall
requirements .snt"ined in KRS 392.365
     26'
                                                                        ""tffi;td;--ir''p;;pr. rorm pursuant to the
          Riders to this securify rnstrument' If one or more riders are
this           Instrurnent, tle covenabts and. agr-ccments of each riaii lxggu,ted
                                                                                   !y Borrower and recorded trogether witJr
     .Securiry
supplemcrt the covenanls and agreemotts of this-secunty Insrumcnt-*
                                                                         snail be incorporated into aad sball amcnd and
        applicablc box]
                                                                      if irtr ride(t were a part of this Security Instrumeot.
ICheck

     E   condominium     fuder         E   pranned Unit Development
                                                                           Ridcr        D other(s) [speci$]




    BY SIGNING BELow, Bonower acccpts and a8rces to the temrs and
sccurity Insrumenr and in any rider execured bv ao.rorf,o
                                                                  covcnants contained in pages
                                                                   a"j;;*&;fi,ir, sffi;#,'ffi                                I   through 6 of this

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                                                                                                                   :
                                                                           I l,tjr._}
                                                                          ,{      **{.,r           t,}1"V.[*                rsEAL]
                                                                          Arny BAtlnett               Borrower

                                                                                                                            IsEAr]
STATE OFKENTUCKY                                                                                      EOtTower

                                                                                   ACKNOWLEDGMENT

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Case 16-30037-grs                  Doc 10          Filed 04/15/16 Entered 04/15/16 12:13:20                                       Desc Main
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 COLTNTY OF     "
                     O[,]EN


      Bcforc mc,         Eddie I,l. Brown                                         a Notary Public   in and for the County of
     0wen                                     , personally appcarcd           Amy Bennett
                                                                      *-   who acknowledgcd thar     _   She                   exscuted thc foregoing
 instrumentonthe.-.11t*h-**..'-*davof-s*e-F.!eqDgE"**_,..*,*:99q"**-as                                                         actanddeed.
                                                                                                     -t-lgr...***free
     wTINESS my hand and ofliciat scal this          _.L1th       "_ day of   *   qSpt-g&gl ,
                                                                                              --_ _?qgg                   "_
{sEALI                                                                                {l.w* Hp_*/.-rfrbt,y                             puor   i"
  LA/9/L7                                                                                                                      My commission cxpi:'es



The form of this instrurncnt was.drafted by rhc                                        unitcd stares Departmenr orAgricurture, and
                                                        "t?ffIfry"Ht:ffiHrHilt
the material in the blank spaccs in the form was inscrtcd by or under the direction of:

  Eddie W. Bror+n           -    At.tornev                                                                    f*,1;r:,*; ",
                                 (Nane\                                                                                 (Signaturc)



                                                        RECORDER'S CERTI}'ICATE
STATE OFKENTUCKY
                                                    )
COUN:TYOF
                                                    t
L S+-s-"a Hl=|A4i-b .. .:,., Clerk of thlCounty Courr for the County aforcsaid, do ceri4, tlrat the
                      --
                * t tlL
foregoingVonsase was on thc  day of **d                    an0 i                                          .
lodged for   rccord **      at   tl$      o'clock .fl M., *h.r"upon thc sarle, wirh the foregoing and this cerrificare, have becn duly
recorded in my offrce.
    civcnundermyhandtbis l\ +{,                             davof b           -+ .             -?OO8




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                                                                                                         OWEN CO. KY.FET
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                                                                Document      Page 17 of 19


  Form RD '1840-16                                                                                                                        Form Approved
  (Rev,7-05)                                                                                                                              OMB Na. 0575-0172
                                                       UHITED STATES DEPARTMENT OF AGRICULTURE
                                                                 RURAL HOUSING SERVICE


                                                                      PROMISSORY NOTE
                                       q.n.)
                                                                                                                                          SATISFIED
  Type of Loan          cFF|FTrltT
                                                                                                                      This              day   of
    Losn No.               -1   DSZUIJa                                                                               United States of Amerlca
                                                                                                                      By:

   Date             ncl1    'r             2o   08                                                                    Titl6:   -                   -'20
                                                           __                                                         USDA, Rurel Housing SowicHg



   oh'enf on                                                            t
                                                                            owen       --,
                                                                                                                 KY
                         (City or Town)                                                Gpuntv)                              (stdte)

  BoRRowER's pRoMlSE To pAy. In return for a loan that I have received, I promise to pay to the order of the United
  States of America, acting through the Rural Housing Seruice (and ite successors) ("Government") $ Y6 , o oo                                              . O o-

  (this amount is called "principal"), plus interest-

  INTEREST. Interert will be charged on the unpaid principal until the full amount of the principal has been paid..l will.pay
  interest at a yearly rate        of
                                  E.:!l                  l_-'%.
                                                 Tha inLerest rale required by' this -section is the rat6 | will pay both before
  and after any default described below.
   PAYMENTS. I egree to pay principal snd interest using one of two alternallves indicated below:

        l. Principal and lnterest payments shall b€ temporarily deferred, The interest accru€d to
   shal be add€d to the principal, The new principal and lateraccrued interest $hall bB payable in                  regularamortized
                                                                                                                                         --!i-6
                                                                                            to enter the amount of such new principal
   installments on the date indicated in the                box balow. I authoriee the Government
                                                                     installments  in the  box  belowwhen   such  amounts have been
                                                                                                                                      --._----*
   here: $                       and  the amount  of  such   regular
   det6rrnin€d. lagree  to pay prlnclpsl end interest  irr installments as  indicated  in the  box betow,

       ll, Payments shall not be deferred. I agree to pay principaland interest                           in    ----l-9-6-installments
                                                                                                                                                     as Indicated in
   the box below
   Iwill pay prlncipal and interest by mEking a payment ev€ry month.
   Iwill make my monthly payment on the L1t,h day of each month beginning on                                          ;$1!9tsCr-11*
                                                                                                             ;2008 -and
   continulngfor 3        9s
                        months. I will make these payments every month until I have paid all of the principal and Int€rest
   and any other charges described below that I may owe under thls note. My monthly paym€nt$ will be applied to interast
   heforeprincipal,        lfon     sElrternber        11 ,2041 Istill oweamountsunderthlsnote, lwill paythoseamountsin{ull                                          on
   that date, which is calleo the "maturity date."
   My rfionthly paym€nt will be $                                           I   will make my monlhly payorent at
   n,rr6,.l on ftiv hl I Iina sta|.ement-.
   -_r@
                                                                                                  ora differentplaceif requiredbytheGovemmant.


   PRINCIPAL ADVANCES lf the entire principal amount of the loan is not advanced at the time of loen closing, the
   unadvanced balance of the loan will be advancod at my request provided the Government agrees to the edvance The
   Government must make the advance provided the advance is requested for an authorized purpose, Intarest shell
   sccrue on the amount of each advanc€ beginning on the date ofthe edvance a$ shown in the Record ofAdvances
   below. I authorize the Government io enter the amount and date of the advance as shown in the Record of Advances
   below. I authorize the Government to enter the amount and date of such advanc€ on the Record of Advances.


   HOUSTNG ACT OF 1949. This promissory note is made pur$uant to title V of the H0using Acl of 1949. lt is for the type
   of loan indicated in the "Type of Loan" hlock Et the top of this note, This note shall be subiect io lhe present regulations
   of the Government and to its future regulations not inconsistent with the 4xpress provisions of this note,

  r\ccotding to rJrc Pspcrwork Rcducfion Act. of 19?5r no pcrsoni $ri f oqujrcd tn rcspond to a coIecl j(rn of if,forrrotisr ulcs it displn}s a m1i<t OMB conhol
  rutrrtrct, T1c       OMR conuol nunbr for this infotmttion collcction js 0575.0172, Thc tjrnc rcquircd to cornplolo this iflfoffidion collcction ir ostim*.',ito
                 "slid
               qlinurcs pcr rcspons, inclurJing tlro timc for rcvicwing inslruclionr, scmlri:rg rxisting dnln $dwcdt' 4ndrcring md minlninint the illte nmdcd, snd
I nvcmgc ).t
|
  ':ornptcting and ravicw rng tllc collcctjon of infoffif,lion.
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                                               Document      Page 18 of 19

                                                                                                     Account # 36620194

                       the Govemment has nOt received the full amount of any monthly payment by the end
                                                                                                                pf 15 -dals
IATE CHARGES        tf
after the date it i$ due, I will pay a late chBrge. The amount of the charge willbe---------g-         parcenl of my overdue
paim.nt of prirtcipal and interest. I will   pay ihis charg€ promptly but only onco for each late payment'

                                                                                                       they arB due,
BoRROWER S RIGHT TO pREpAy. I have the right to malqe payments of principal at any time before
                                          "prepayment,'' When I make a prepayment, I will tell the Governm$nt   in
A payment of principal only is known as a
writing that I am making a prepayment'

 I may make a full prepayment or partial prcpayment without paying any prepayment charge. The Governm€nt will use
a1l oi my prspayments ts rJouce ih"           of principal that I owa under thiE Note, lf I make e partisl prepayment, there
                   in
will be no chan'ges the  due date  or"rount
                                      in the amount   of my monthly payment unless the Government agrees in writing to
those changes, Prepayments will be applied to my ioan in eccordance with the Government's regulations and
accounting procedures in effect on ihe date of r€c6lpt of the payment'

 ASSIGN1T.4ENT   OF NOTE, I understand end agree that the Government may al any time assign this note without my
                                                                                                            case
 consent. lf the Govemment assigns the note I will make my payments to the assignee of the note and in such
 the term "Govemment" will mean the asslgnee.

 cREDtT ELSEWHERE CERTtF|CATION. tcertiff to the Government that I am unable io obtain sufficient credit
 from other Bources at reasonable rates and terms for the purposes for which ihe Government is giving me this loan'

 USE CERTIFICATION. I certif,/ to lhe Government that the funds I am borrowing from the Govemment will only be
 used for purpos€s authorized by the Government-

 LEASE OR SALE OF PROPERTY lf the property son$tructed, improved, purchssed, or reflnanced with this loan is (1)
 leassd or rented with an option to purchase, (2) leased or rented without option to purchase for 3 y6dr$ or longer, or
                                                                                                                           (3)
 is sold or title is otherwise'conveyed, voluntaiily or involuntarily, the Government may at its option declare the entire
                                                                                                                    pay otf
 remaining unpaid balance of the loan immediately due and payable, lf this happens, lwillhave toimmediately
 the entire laan.

 REQUTREMENT TO REFINANCE WITH PRIVATE CREDIT. t agree to periodioally provide the Govarnment with
 information the Governmsnt raquests about my financial situation, lf the Government determines that I can get a loan
 from a responsible cooperative or private credit source, such as a bank or a credit union, at reasonable rates and terms
 for similar purpqses as this loan, at the Government's r6quest, I will apply for and accept a loan in a sufficient amount to
 pay this note in full. Thls requirement does not apply to any cosigner who signed this note pursuant to section 502 of thB
 Housing Act of 1949 to compansate for my lack of repeyment ability'
 SUBSTDY REPAYMENT AGREEMENT. I agree to the r€payment (recapture) of subsidy granted in the form of
 payment asslstance under the Government's regulatjons.

 CREDTT SALE TO NONPROGRAM BORROWER, The provisions of the paragraphs entitled
                                                                                                   "Credit Elsewhere
 Certiflcation" and "Requirement to Refinance with Private Credit'' do not epply lf this loan is classlfiad as a
 nonprogram loan    pursuant to section 502 of the Housing Act of 1949.

 DEFAULT. lf I do not pay the full amount of each monthly paym€nt on the date it is due, I will be in default lf I am in
 default the Government may send me a written notice telling me that if I do not pay the overdue amount by a certain date
 lhe Governmeni may require me to immedistely pay lhe fullemount of the unpaid principal, allthe interest that I owe, and
 any late charges, Inferesiwill continue to aocrue on past due principal and intereet. Even if, at a tirne when I am in
 deiault, tha Givernmenl does not require me to pay immediately as described in tho preceding sentence, the Government
 will still have the right to do so if I am in default at a later date, lf the Government has required me to immediately pay in
 full as described above, the Government will have the rlghl to be paid back by me for all of its costs and exp€n363 In
 enforcing this promissory note to the extent not prchibited by applicable law. Tho36 expense$ include, for exampla,
 reasonable attorney's fees.
       Case
E9/ l,6/
            16-30037-grs
         28EB  L:18: 5E
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                                                Document      Page 19 of 19


                                                                                                       Aceount   *     36620194

                                                                                           given to me und€r thls note will be
 NOTICES Unless applicable law requires a different m6thdd, sny notice that must be
                                                                                                        at e different address if
 given by delvering t or oy mailing it by first class mailto me at the property address lisied abcve or
                                                                                    given  to the Government  will be given by
 igr"; i# G.rurnfi"ni a notice oi*y iiff*r*nt address. Any notice ihatmust be
 malling 1t by first clasE mail to the Government et USDA RPraI'Hquslng    se
  poSt-qffice8o)L6,oratad|fferent6dd|g9slf|amgiven€notlc6ofthat
 diflerent 6dclre36,

                                                                                                 note, each person is fully and
 OBLIGATIONS OF PERSONS UNDER THIS NOTE. lf more than one person signs this
 personatry obligated to keep all of the promises made   in this note,  including  the  Ptomiee to pey the full amount owed'
 hny person  wh-o is a guarritor, surety, or endorser of thls note is  also  obligated  to do thesa things' The Government
 may'enforce its rightiunder this note against aach person individually o.r ag_Einst all of uE together,
                                                                                                            This means thal any
                                              amounts  owsd   under  this  note.  The  tem  "Borrower"   shall refar to each
 one of us may be-required to pay all of lhe
 persan stgning this note,

                                                                                             presentment and notice of
 WAIVERS. I and any other person Who has obligations under this note waive the rights of
 dishonor  "presentment" means   the  right to require the Govemment  to demand   payment   of amounts due" "Notice of
 dishonof' means the right to require thle Govarnment to give notice to other Frercons that amount$ due have noi been paid

 WARNING: Fallure to fully dieclose accurate and truthful financlal information in connectiqn with my loan
                                                                                                            of
 appllcation may rssult inihe terminEtlon of pragram assislance currontly being received, and the denial
                                                                 Debarment    regulations, 7 G'F.R. part 3017'
     re federal assietance under the Department of Agriculture's


                ffi*o"-tl*                                                         Borrower
                                                                                                                 DCS   I




                       Bonower Amy   Bennett

                                                     Scal
                       Bonower                                                     Bqrrow€r




                                               RECORD OF ADVANCES
           AMOLNT                DNTE                  AMOI}lT           DATE                 AMOUNT                   DATE
 /t\ I                                          r81 $                                 115)    S

 {z',) S                                        rg\ s                                  16\ s
 {l)   $                                       flo    )$                               r?\ s
 rd\ s                                          il)$                                   tfl\ *
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 (7) $                                         (r4t   $                                tzr)   $


                                                                                     TOTAL        $
